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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------- X
                                                                                                2/14/2019
                                                          :
UNITED STATES OF AMERICA                                  :
                                                          :
                                                          :                 17-CR-722 (VSB)
                       -against-                          :
                                                          :               OPINION & ORDER
                                                          :
SAYFULLO HABIBULLAEVIC SAIPOV, :
                                                          :
                           Defendant.                     :
--------------------------------------------------------- X

VERNON S. BRODERICK, United States District Judge:

        Defendant Sayfullo Habibullaevic Saipov has been charged in a twenty-eight count

indictment with, among other offenses, eight counts of murder in aid of racketeering and

eighteen counts of attempted murder, arising out of an attack in New York City on October 31,

2017, in which Defendant Saipov—purportedly acting on behalf of the Islamic State of Iraq and

al-Sham (“ISIS”)—is alleged to have driven a flatbed truck onto a cycling and pedestrian

pathway on the west side of lower Manhattan, killing eight civilians and injuring at least eighteen

others. (Doc. 61.) Many of the charges against Saipov carry a possible sentence of death.

        Currently before me is Defendant Saipov’s motion to preclude the Government from

seeking the death penalty as a result of statements made by President Donald J. Trump, in which

the President encouraged the United States Attorney General to seek the death penalty in

Saipov’s case, or in the alternative, for the appointment of an independent prosecutor to decide

whether to authorize the death penalty. 1 (Doc. 75.) For the reasons that follow, Saipov’s motion

is DENIED.


1
 On September 28, 2018—the same date it filed its opposition to the instant motion—the Government filed its
Notice of Intent to Seek the Death Penalty, (Doc. 80). As a result, Saipov no longer appears to advocate for the
appointment of an independent prosecutor. Saipov instead argues that “unless the government can establish that its
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                 Background and Procedural History

        On June 19, 2018, the Government returned a superseding indictment against Defendant

Saipov, arising out of the October 31, 2017 truck attack. (Doc. 61.) The superseding indictment

charges Saipov with eight counts of murder in aid of racketeering, in violation of 18 U.S.C.

§ 1959(a)(1); eight counts of assault with a dangerous weapon and attempted murder in aid of

racketeering, in violation of 18 U.S.C. § 1959(a)(3); ten additional counts of attempted murder in

aid of racketeering, in violation of 18 U.S.C. § 1959(a)(5); one count of providing material

support to a designated Foreign Terrorist Organization, in violation of 18 U.S.C. § 2339B; and

one count of violence and destruction of a motor vehicle resulting in death, in violation of 18

U.S.C. §§ 33(a) and 34. (Doc. 61.) The murder in aid of racketeering charges, as well as the

charge for violence and destruction of a motor vehicle resulting in death, carry a possible

sentence of death. See 18 U.S.C. §§ 34, 1959(a)(1).

        On November 1, 2017, the day after Saipov was taken into custody, the President posted

the following statement to his Twitter account: “NYC terrorist was happy as he asked to hang

ISIS flag in his hospital room. He killed 8 people, badly injured 12. SHOULD GET DEATH

PENALTY!” (Saipov Br. 2.) 2 The following day, the President stated—again in relation to

Saipov—“Should move fast. DEATH PENALTY!” (Id.) Since that time, the President has




death notice was not affected by President Trump’s uninformed and intemperate directive to execute Mr. Saipov, it
may not pursue a death sentence in a manner that complies with the Federal Death Penalty Act . . . or the
Constitution. Without such assurances, which can only be obtained through a hearing, the Court should strike the
notice.” (Saipov Reply 1.) “Saipov Reply” refers to Defendant Sayfullo Habibullaevic Saipov’s Reply Motion and
Memorandum of Law to Vacate or Dismiss the Government’s Notice of Intent to Seek the Death Penalty, filed
October 9, 2018, (Doc. 89).
2
 “Saipov Br.” refers to Defendant’s Motion to Preclude Government from Seeking the Death Penalty, or, in the
Alternative, for the Appointment of an Independent Prosecutor to Decide Whether a Capital Prosecution Should Be
Authorized, filed September 6, 2018, (Doc. 75).



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made other comments about Saipov using Twitter, referring to Saipov in one instance as a

“degenerate animal.” (Id. at 3.) 3

        Because Saipov has been charged with offenses for which death is a possible penalty, the

“Capital Case Protocol”—a series of policies and guidelines outlined in the Justice Manual

(“JM”), 4 which apply to all federal cases in which a defendant is, or could be, charged with a

death-eligible offense alleged to have been committed after March 6, 2006—dictated the process

by which the Government determined whether to seek the death penalty. See JM §§ 9-10.010–

10.200. First, the United States Attorney’s Office for the Southern District of New York invited

Saipov’s counsel to offer a mitigation submission. (See Gov’t Br. 5; JM § 9-10.080 (requiring

that defense counsel receive a reasonable opportunity to present to the U.S. Attorney information

“which may bear on the decision whether to seek the death penalty”).) 5 The defense made its

submission on May 18, 2018, and subsequently made an in-person mitigation presentation to the

Southern District U.S. Attorney and other federal prosecutors. (Gov’t Br. 5.) Following the

meeting with defense counsel, the Capital Case Protocol required the Southern District U.S.

Attorney’s Office to send both its submission and Saipov’s submission to the Attorney General’s

Review Committee on Capital Cases (the “Capital Review Committee” or the “Committee”), an

internal committee of Department of Justice (“DOJ”) officials. (See id.; JM § 9-10.080

(instructing the U.S. Attorney to make a recommendation to the Committee regarding whether to




3
 Saipov also challenges more recent statements by the President, in which he criticized the Attorney General’s
decision to prosecute two Republican Congressmen in cases unrelated to Defendant Saipov’s. (See Saipov Br. 3
(quoting September 3, 2018 Twitter post by President Trump).)
4
 “The JM was previously known as the United States Attorneys’ Manual (USAM). It was comprehensively revised
and renamed in 2018.” U.S. Dep’t of Justice, Justice Manual, https://www.justice.gov/jm/justice-manual (last
visited Feb. 11, 2019).
5
 “Gov’t Br.” refers to the Government’s Memorandum in Opposition to the Defendant’s Motion to Preclude the
Government from Seeking the Death Penalty, filed September 28, 2018, (Doc. 83).



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seek the death penalty).) On July 23, 2018, defense counsel made another in-person mitigation

presentation directly to the Capital Review Committee. (See Gov’t Br. 5; JM § 9-10.130

(guaranteeing defense counsel a reasonable opportunity to “present evidence and argument in

mitigation” to the Committee).) The Committee then made its recommendation to then-Attorney

General Jefferson Sessions III, 6 (see Gov’t Br. 5; JM § 9-10.130), and on September 27, 2018,

the Attorney General, after considering the relevant materials and recommendations, directed the

Government to seek the death penalty, (see Gov’t Br. 5; JM § 9-10.140 (requiring the Attorney

General to consider whether the applicable aggravating factors that are supported by “substantial,

admissible, and reliable evidence” “sufficiently outweigh the applicable mitigating factors to

justify a sentence of death”)).

           On September 6, 2018, Defendant Saipov filed the instant motion to preclude the

Government from seeking the death penalty. (Doc. 75.) The Government filed its opposition to

Saipov’s motion, (Doc. 83), and its Notice of Intent to Seek the Death Penalty, pursuant to 18

U.S.C. § 3593(a), (Doc. 80), on September 28, 2018. Saipov filed a reply in further support of

his motion on October 9, 2018. (Doc. 89.) Finally, Protect Democracy Project, Inc. (“Protect

Democracy”) sought and received leave to file an amicus brief in support of neither party. (Doc.

78-2.) 7




6
 In November 2018, Sessions resigned as Attorney General, at the President’s request. See Letter from Attorney
Gen. Jefferson B. Sessions III to President Donald J. Trump (Nov. 7, 2018), available at
https://www.cnn.com/2018/11/07/politics/sessions-resignation-letter/index.html.
7
  Protect Democracy’s brief criticizes the President’s “meddling in the criminal justice process,” but “takes no
position on the underlying merits of this case.” (Doc. 78-2, at 2.) In fact, Protect Democracy notes that “the
Department of Justice may well be acting independently and outside the cloud of any White House interference in
this matter. Indeed . . . Protect Democracy hopes and expects that to be the case.” (Id. at 3.) Because I find no
indication that the Attorney General’s charging decisions were improperly motivated by the President’s remarks or
that the Attorney General’s prosecutorial independence was otherwise compromised, I decline Protect Democracy’s
invitation to further scrutinize the President’s statements relating to Defendant Saipov.



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               Discussion

               A. Applicable Law

       The decision to seek the death penalty in federal cases is reserved to the United States

Attorney General, who “retain[s] broad discretion” in his prosecutorial decision-making. United

States v. Armstrong, 517 U.S. 456, 464 (1996) (internal quotation marks omitted); see also JM

§ 9-10.050. “[P]olicy considerations behind a prosecutor’s traditionally wide discretion suggest

the impropriety of [courts] requiring prosecutors to defend their decisions to seek death

penalties.” McCleskey v. Kemp, 481 U.S. 279, 296 (1987) (internal quotation marks omitted);

see also Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978) (“[S]o long as the prosecutor has

probable cause to believe that the accused committed an offense defined by statute, the decision

whether or not to prosecute, and what charge to file or bring before a grand jury, generally rests

entirely in his discretion.”). “Because discretion is essential to the criminal justice process,

[courts] demand exceptionally clear proof before [they] would infer that the discretion has been

abused.” McClesky, 481 U.S. at 297.

       Therefore, “in the absence of clear evidence to the contrary,” separation-of-powers

principles require courts to presume that the Executive has “properly discharged [his] official

duties.” Armstrong, 517 U.S. at 464 (quoting United States v. Chem. Found., Inc., 272 U.S. 1,

14–15 (1926)). “Absent a preliminary showing of arbitrary action, the Court must assume that

the Attorney General’s decision [to seek the death penalty] was made in good faith.” United

States v. Kee, No. S1 98 CR 778(DLC), 2000 WL 863119, at *4 (S.D.N.Y. June 27, 2000)

(denying motion to dismiss Government’s notice of intent to seek death penalty).




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                  B. Application

         Defendant Saipov has not provided “exceptionally clear proof” that the Attorney General

abused his discretion in directing the Government to seek the death penalty in the instant case.

See McClesky, 481 U.S. at 297. As an initial matter, the Government appears to have followed

the procedures set forth in the Capital Case Protocol. 8 In accordance with the Protocol, Saipov’s

counsel submitted written materials and made an in-person mitigation presentation to the U.S.

Attorney before the U.S. Attorney’s Office made its recommendation to the Capital Review

Committee. See JM § 9-10.080. Saipov’s counsel also presented mitigating factors directly to

the Capital Review Committee before the Committee submitted its recommendation for the

Attorney General’s review. See id. § 9-10.130. Although “[t]he decision-making process

preliminary to the Attorney General’s final decision is confidential,” the Capital Case Protocol

requires that “Reviewers [of a decision regarding whether to seek the death penalty] are to

resolve ambiguity as to the presence or strength of aggravating or mitigating factors in favor of

the defendant.” Id. §§ 9-10.050, 9-10.140. In other words, as one court stated, before filing a

notice of intent to seek the death penalty, “Government officials are instructed to consider any

mitigating factor reasonably raised by the evidence in the light most favorable to the defendant

and to satisfy themselves that there is sufficient admissible evidence of aggravating factors to

both obtain a death sentence and to sustain it on appeal.” United States v. Frank, 8 F. Supp. 2d

253, 284 (S.D.N.Y. 1998.) Defendant Saipov does not assert that he was prevented from


8
  I note that even if the Government did not follow every dictate of the Capital Case Protocol to the letter, numerous
courts have concluded that the Capital Case Protocol “does not create any [] legally enforceable rights, and that,
therefore, [death-eligible defendants] lack the power to order the Government to abide by it.” United States v.
Williams, 181 F. Supp. 2d 267, 299 (S.D.N.Y. 2001); see also Nichols v. Reno, 931 F. Supp. 748, 751–52 (D. Colo.
1996) (“The [Justice] Manual expressly disclaims any intention to create any judicially enforceable substantive or
procedural rights in any party in any civil or criminal matter.”), aff’d, 124 F.3d 1376 (10th Cir. 1997). I agree that
the Capital Case Protocol does not create procedural or substantive rights enforceable by Saipov. However, the fact
that the Government appears to have fully complied with the Protocol constitutes evidence that the Attorney
General’s death penalty decision was not arbitrary or infected by improper influence.



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presenting mitigation evidence at any point in the DOJ’s decision-making process.

       Moreover, although “[t]he overriding goal of the [death penalty] review process is to

allow proper individualized consideration of the appropriate factors relevant to each case,” JM

§ 9-10.030, the Attorney General’s decision to seek the death penalty here does not appear

inconsistent with other cases in which the death penalty has been sought. Saipov is accused of

committing indiscriminate acts of extreme violence in the name of a Foreign Terrorist

Organization, resulting in eight fatalities and many more injuries. (See Doc. 61.) In support of

its decision to seek the death penalty, the Government cited numerous statutory aggravating

factors, including death during commission of another crime, (18 U.S.C. § 3592(c)(1)); grave

risk of death to additional persons, (§ 3592(c)(5)); heinous, cruel, and depraved manner of

committing the offense, (§ 3592(c)(6)); substantial planning and premeditation, (§ 3592(c)(9));

and multiple killings, (§ 3592(c)(16)). Prior Attorneys General have also sought the death

penalty where similar aggravating factors were present. See, e.g., United States v. Tsarnaev, No.

13 Cr. 10200 (GAO) (D. Mass. Jan. 30, 2014), ECF No. 167 (Government’s notice of intent to

seek death penalty against defendant who killed three in Boston Marathon bombing, citing same

statutory aggravating factors set forth in Saipov’s notice, as well as the existence of a vulnerable

victim (see § 3592(c)(11)); United States v. Roof, No. 15 Cr. 472 (RMG) (D.S.C. May 24, 2016),

ECF No. 164 (Government’s notice of intent to seek death penalty against defendant who fatally

shot nine parishioners in South Carolina church, citing substantial planning and premeditation,

multiple killings, and vulnerable victim as statutory aggravating factors).

       Saipov offers only the conclusory allegation that because of the President’s public

statements advocating for the imposition of the death penalty—statements that were perhaps ill-

advised given the pendency of this case—the Attorney General’s decision to seek that penalty




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must have been motivated more by “President Trump’s emotions and partisan desire[s] . . . than

[by] Sessions’s informed judgment.” (Saipov Reply 4.) This assertion is pure speculation made

without a scintilla of direct factual support, and without more, it is insufficient to warrant

interference by this Court with the Attorney General’s presumptive authority to make charging

decisions.

       The case of Nichols v. Reno, 931 F. Supp. 748 (D. Colo. 1996), aff’d, 124 F.3d 1376

(10th Cir. 1997)—in which the U.S. District Court for the District of Colorado rejected both

statutory and constitutional challenges to then-Attorney General Janet Reno’s decision to seek

the death penalty against Terry Nichols for his role in the 1995 Oklahoma City bombing—is

particularly instructive. Before any suspects were named or arrested in connection with the

Oklahoma City attack, Attorney General Reno publicly announced an intention to seek the death

penalty; President Clinton also announced his support for the death penalty early in the

Government’s investigation. Id. at 752. Nichols challenged the Government’s death penalty

notice, alleging that in deciding to pursue the death penalty, the Attorney General failed to

follow the applicable DOJ procedures, which require individualized consideration of the

defendant and the crime. Id. at 751. The district court rejected Nichols’s arguments in their

entirety, emphasizing that the Attorney General’s exercise of charging discretion is

“presumptively unreviewable.” Id. The court further determined that the procedures set forth in

the Capital Case Protocol had been followed, and that “the charge of bias based solely on the

public statements of the President and the Attorney General in the immediate aftermath of the

explosion [wa]s legally insufficient to support a constitutional challenge to the [Death] Notice.”

Id. at 752–53.




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         Like Nichols, Saipov has presented no evidence that the Government failed to fully

comply with the Capital Case Protocol here. Moreover—and in contrast to Nichols—Saipov

does not contend that the Attorney General himself made any improper public comments relating

to Saipov’s alleged crimes or the appropriate punishment for those crimes. Any allegations of

bias or impropriety on the part of Attorney General Sessions are based wholly on the President’s

unilateral comments and conduct. While those comments are arguably more inflammatory than

President Clinton’s statements relating to Nichols, 9 Saipov has offered no evidence that the

President’s remarks impacted the Attorney General’s decision-making process in any way. To

the contrary, Attorney General Sessions has categorically renounced other provocative remarks

made by the President, stating, “While I am Attorney General, the actions of the Department of

Justice will not be improperly influenced by political considerations.” Sarah Isgur Flores

(@SarahFloresDOJ), Twitter (Aug. 23, 2018, 10:02 a.m.), https://twitter.com/

SarahFloresDOJ/status/1032674568849244160 (statement issued by DOJ Director of Public

Affairs on behalf of Attorney General Sessions).

         The statutes and case law Saipov cites in an attempt to buttress his argument are equally

unavailing. Saipov contends, for instance, that in electing to seek the death penalty, the Attorney

General failed to comply with the Federal Death Penalty Act (the “FDPA”), 18 U.S.C. §§ 3591–

3598, which provides various substantive and procedural protections for capital defendants.

However, the FDPA primarily governs the process by which courts and juries determine whether

to impose a sentence of death at trial, rather than the process by which the Government decides



9
 Discussing the Oklahoma City bombing four days after the incident, President Clinton commented, “I certainly
believe that [the perpetrators] should be executed. . . . If this is not a crime for which capital punishment is called, I
don’t know what is.” Interview by Steve Kroft, 60 Minutes, with President William J. Clinton (Apr. 23, 1995),
available at http://www.presidency.ucsb.edu/ws/index.php?pid=51266.




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to seek the death penalty. See, e.g., 18 U.S.C. § 3592 (requiring that the factfinder be presented

with any mitigating factors); § 3593 (requiring a separate hearing following a guilty verdict to

determine whether a sentence of death is justified); § 3595 (providing for review of a death

sentence by the United States Court of Appeals). In fact, “[t]he only legislative guidance [the

FDPA offers to the Attorney General in determining which punishment to seek] is that he shall

consider whether the ‘circumstances of the offense’ justif[y] a sentence of death. There is no

other direction.” Nichols, 931 F. Supp. at 752 (quoting 18 U.S.C. § 3593(a)). Similarly, the

cases cited by Saipov—including Zant v. Stephens, 462 U.S. 862 (1983); Woodson v. North

Carolina, 428 U.S. 280 (1976); and Ford v. Wainwright, 477 U.S. 399 (1986)—do not consider

the Attorney General’s exercise of prosecutorial discretion; rather, each addresses the heightened

“need for reliability” in ultimately sentencing a defendant to death. See Zant, 462 U.S. at 884–

85.

       There is no dispute that Saipov has and will continue to have a wide range of statutory

and constitutional protections available to him, particularly if his trial ultimately proceeds to the

penalty phase. However, “[a]bsent a preliminary showing of arbitrary action,” I must assume

that the Attorney General’s decision to seek the death penalty at trial “was made in good faith.”

Kee, 2000 WL 863119, at *4; see also Frank, 8 F. Supp. 2d at 283 (denying request to preclude

Government from seeking death penalty where defendant “adduced absolutely no evidence

suggesting that the Government abused its discretion” and instead relied on “conclusory

allegations” of impropriety). Defendant Saipov’s unsupported allegation that the Attorney

General’s decision to pursue the death penalty must have been influenced by remarks made by




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the President on a social media platform nearly a year earlier is insufficient to rebut the

presumption of regularity that attaches to the Attorney General’s charging decisions. 10

        Finally, I decline Saipov’s request that I appoint an independent prosecutor to determine

whether the Government should seek the death penalty. As an initial matter, Saipov fails to

address the proposed appointment of an independent prosecutor in his reply papers and therefore

appears to have abandoned that request. This is unsurprising as the request was essentially

mooted by the Government’s subsequent filing of its Notice of Intent to Seek the Death Penalty.

(Doc. 80.) In any event, even if the decision to pursue the death penalty had not already been

made, where, as here, there is no indication that the Attorney General discharged his duties

improperly, there is no basis to interfere with the Executive’s exercise of prosecutorial discretion

by the unprecedented appointment of an independent prosecutor. Cf. In re Wood, 833 F.2d 113,

115 (8th Cir. 1987) (holding that “a court may not exercise its supervisory power in a way which

encroaches on the prerogatives of the executive . . . unless there is a clear basis in fact and law

for doing so.” (internal quotation marks omitted)).




10
  Saipov cites events unrelated to his case—including, for instance, the Attorney General’s termination of Acting
FBI Director Andrew McCabe in March 2018—to support his contention that the DOJ “heed[s] President Trump’s
tweets.” (Saipov Reply 5–6.) I decline to analyze the merits of Saipov’s allegations regarding these incidents,
which bear no relation to the “core executive constitutional function” of determining which charges to bring, and
which penalties to seek, in a particular case. See Armstrong, 517 U.S. at 465.



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              Conclusion

       For the foregoing reasons, Defendant Saipov’s motion to preclude the Government from

seeking the death penalty, (Doc. 75), is DENIED. I will address Saipov’s remaining challenges

to the Government’s Notice of Intent to Seek the Death Penalty, (see Docs. 97, 99, 103), once

those motions are fully briefed in March 2019.

SO ORDERED.

Dated: February 14, 2019
       New York, New York

                                                           ______________________
                                                           Vernon S. Broderick
                                                           United States District Judge




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